       Case 1:19-cr-10141-LTS Document 103 Filed 10/21/19 Page 1 of 18



                    CRIMINAL NO. 1:19-cr-10141-LTS

               IN THE UNITED STATES DISTRICT COURT
                    DISTRICT OF MASSACHUSETTS
                             __________

                     UNITED STATES OF AMERICA,
                                                      Plaintiff,
                                         v.

                  SHELLEY M. RICHMOND JOSEPH and
                  WESLEY MACGREGOR,
                                                   Defendants.
                                   __________

                 Amicus Brief of the American Immigration
                  Lawyers Association and Justice at Work
                     (Leave to file granted on October 17, 2019)

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              Case 1:19-cr-10141-LTS Document 103 Filed 10/21/19 Page 2 of 18



                                               TABLE OF CONTENTS
                                                                                                                                     Page

INTEREST OF AMICUS CURIAE ............................................................................................... 1

SUMMARY OF ARGUMENT ...................................................................................................... 1

ARGUMENT .................................................................................................................................. 2

   I.        This Prosecution Creates a Chilling Effect on Noncitizens’
             Willingness to Come to Court to Exercise Their Right to Access Justice .......................... 2

        A.     Recent Developments in ICE Enforcement in Courthouses ........................................... 4

        B.     The Impact of the Recent Escalation of ICE Enforcement in Courthouses .................... 6

CONCLUSION ............................................................................................................................. 12




                                                                    -i-
             Case 1:19-cr-10141-LTS Document 103 Filed 10/21/19 Page 3 of 18



                                                  TABLE OF AUTHORITIES

                                                                                                                                       Page(s)

Cases

Diamond v. Earle,
   217 Mass. 499, 105 N.E. 363 (1914) .........................................................................................3

Lunn v. Commonwealth,
   477 Mass. 517, 78 N.E.3d 1143 (2017) .....................................................................................2

Meekins v. Smith,
   126 Eng. Rep. 363 (1791) ..........................................................................................................3

Ryan v. U.S. Immigration & Customs Enforcement,
   382 F. Supp. 3d 142 (D. Mass. 2019) ....................................................................................1, 3

Stewart v. Ramsay,
   242 U.S. 128 (1962) ...................................................................................................................1

The King v. Holy Trinity in Wareham,
   99 Eng. Rep. 531 (1782) ............................................................................................................3

Statutes

Violence Against Women Act of 2005 ............................................................................................8

Other Authorities

Immigration Defense Project, Safeguarding the Integrity of Our Courts: The
   Impact of ICE Courthouse Operations in New York State .............................................. passim

Memorandum from Chief Justice Paula M. Carey, Policy and Procedures
  Regarding Interactions with the Department of Homeland Security (Nov. 10,
  2017) ..........................................................................................................................................3

Obstructing Justice – The Chilling Effect of ICE’s Arrests of Immigrants at
   Pennsylvania Courthouses, Temple University Beasley School of Law,
   Center for Social Justice (Jan. 2019), 6,
   https://www.ncsc.org/~/media/Files/PDF/Topics/ICE/ Obstructing-
   Justice013019.ashx (last visited Oct. 8, 2019).......................................................................5, 6




                                                                       -ii-
           Case 1:19-cr-10141-LTS Document 103 Filed 10/21/19 Page 4 of 18



Promoting Access to Justice for Immigrant and Limited English Proficient Crime
   Victims in an Age of Increased Immigration Enforcement: Initial Report from
   a 2017 National Survey, National Immigration Women’s Advocacy Project,
   American University Washington College of Law (May 3, 2018),
   http://library.niwap.org/wp-content/uploads/Immigrant-Access-to-Justice-
   National-Report.pdf (last visited Oct. 8, 2019)..................................................................6, 7, 8

The Courthouse Trap: How ICE Operations Impacted New York’s Courts in
   2018, Immigrant Def. Project, 6 (Jan. 2019),
   http://www.immigrantdefenseproject.org/ wp-
   content/uploads/TheCourthouseTrap.pdf (last visited Oct. 8, 2019) .....................................4, 5

U.S. Immigration and Customs Enforcement, Directive No. 11072.1, Civil
   Immigration Enforcement Actions Inside Courthouses (Jan. 10, 2018),
   https://www.ice.gov/sites/default/files/documents/Document/2018/ciEnforcem
   entActionsCourthouses.pdf (last visited Oct. 8, 2019) ..........................................................4, 5




                                                           -iii-
         Case 1:19-cr-10141-LTS Document 103 Filed 10/21/19 Page 5 of 18



                               INTEREST OF AMICUS CURIAE

       Amicus American Immigration Lawyers Association is a national association of

immigration lawyers established to promote justice, advocate for quality immigration and

nationality law and practice, and enhance the professional development of its members.

       Amicus Justice at Work is a Boston-based legal organization centered on supporting

immigrant worker centers and workplace-related legal support. Justice at Work provides legal

services to workers, including noncitizen workers facing wage theft, injury on the job, sexual

harassment, discrimination, retaliation, and more.

       The Indictment in this action raises important questions that concern each of the amici’s

interests in noncitizens’ continued access to justice, a right protected by both the United States and

Massachusetts Constitutions.

                                  SUMMARY OF ARGUMENT

       The common law privilege against civil arrest at a courthouse has been recognized in the

United States for more than a century. See, e.g., Stewart v. Ramsay, 242 U.S. 128 (1962)

(reviewing history); Ryan v. U.S. Immigration & Customs Enforcement, 382 F. Supp. 3d 142

(D. Mass. 2019) (reviewing history; preliminarily enjoining U.S. Immigration and Customs

Enforcement (“ICE”) from civilly arresting those not in state custody who are appearing in court

on official business). This privilege is fundamental to the exercise of all other legal rights, because

it is in courthouses that those rights may be vindicated through fair process. All participants in

that process must have access to it, or its integrity and reliability quickly erodes.          Where

courthouses are fertile ground for civil arrests, participants in court proceedings stay away, and

communities suffer. Judges and court officers are at the front lines of ensuring access to justice.

       This brief summarizes empirical reports, firsthand accounts, and data compilations that

show that courthouse arrests erode participation in court proceedings by all types of participants.

                                                 -1-
         Case 1:19-cr-10141-LTS Document 103 Filed 10/21/19 Page 6 of 18



As set forth in greater detail below, as a result of increased ICE enforcement in courthouses,

noncitizens across the country have been discouraged from exercising their Constitutional right to

avail themselves of the remedies provided by the judicial system. Moreover, these individuals are

not the only victims of this conduct—prosecutors, law enforcement officials, and victim advocates

have reported that the pervasive fear among immigrant populations fueled by increased ICE

enforcement in courthouses has diminished their ability to effectuate justice and keep our

communities safe. Finally, the practice of courthouse arrests puts state court judges, like Judge

Joseph, in the unenviable position of trying to follow federal law while also fulfilling their duty,

as state-law judges, to ensure that everyone in the Commonwealth—regardless of immigration

status—can exercise his or her constitutional right to access the courts. As set forth in the motion

to dismiss advanced by Judge Joseph, judicial immunity exists to ensure that judges can balance

these responsibilities free of the fear of federal prosecution. Amici respectfully submit that this

brief provides important context for the court’s consideration of the motions to dismiss advanced

by Judge Joseph and Wesley MacGregor, and of the briefs of the other amici in this matter.

                                          ARGUMENT

I.     This Prosecution Creates a Chilling Effect on Noncitizens’
       Willingness to Come to Court to Exercise Their Right to Access Justice

       Both state and federal courts in Massachusetts have recognized that access to justice is

critical to noncitizens, and that ensuring noncitizen access to justice is critical to the civil and

criminal justice system as a whole.

       In 2017, the Massachusetts Supreme Judicial Court held that state judicial officers do not

have authority to arrest an individual based on an order from ICE. Lunn v. Commonwealth, 477

Mass. 517, 78 N.E.3d 1143 (2017). Following Lunn, and in accordance with its long-standing

principles, the Massachusetts state courts adopted a policy generally declining to assist the federal


                                                 -2-
         Case 1:19-cr-10141-LTS Document 103 Filed 10/21/19 Page 7 of 18



government in enforcing federal immigration law. See Memorandum from Chief Justice Paula M.

Carey, Policy and Procedures Regarding Interactions with the Department of Homeland Security

(Nov. 10, 2017), attached hereto as Exhibit A.

       On the federal level, in Ryan v. U.S. Immigration & Customs Enforcement, the District

Court for the District of Massachusetts granted a preliminary injunction prohibiting ICE officials

from conducting civil immigration arrests inside state courthouses in Massachusetts. 382 F. Supp.

3d 142, 160 (D. Mass. 2019) (appeal filed). The court explained that, since colonial times,

common-law courts have recognized that permitting arrests at courthouses of those attending court

on other matters could chill attendance at those other proceedings. See The King v. Holy Trinity

in Wareham, 99 Eng. Rep. 531 (1782) (noting that “for the purposes of justice” those attending

court proceedings were privileged from being arrested on civil process); Meekins v. Smith, 126

Eng. Rep. 363 (1791) (same). Finally, the Ryan court recognized that, “justice requires the

attendance of witnesses cognizant of material facts, and hence that no unreasonable obstacles

ought to be thrown in the way of their freely coming into court to give oral testimony.” Diamond

v. Earle, 217 Mass. 499, 501, 105 N.E. 363 (1914). Given the weight of this precedent, the court

held that ICE should be enjoined from civilly arresting parties, witnesses, and others attending

Massachusetts courthouses. Ryan, 82 F. Supp. 3d at 160.

       In the present case, the prosecution of Judge Joseph sends a deliberate message to citizens

and noncitizens alike that they come to court at their peril, and that even state judges may feel

pressure—or, indeed, may feel obligated by threat of federal criminal prosecution—to facilitate

noncitizens’ arrest by federal officials. Allowing ICE agents to co-opt public spaces and state

officers, and particularly state courthouses and judges, to exercise executive administrative

warrants would have a ripple effect beyond this prosecution. Protecting access to justice is critical



                                                 -3-
         Case 1:19-cr-10141-LTS Document 103 Filed 10/21/19 Page 8 of 18



not only to the integrity of our Constitution and justice system, and well-being of our country’s

immigrant populations, but also for the safety of our communities.

       A.         Recent Developments in ICE Enforcement in Courthouses

       For noncitizens, the state courthouse has recently transformed from a place where justice

may be sought to a site of intimidation, particularly for people seeking to defend themselves against

criminal charges and to enforce their civil, labor, and housing rights, or to protect themselves or

their children from domestic abuse.        The fear and intimidation reported by those directly

participating in court proceedings extends to noncitizen courthouse personnel employed to secure

the building, answer phones, file papers, and engage in the various other occupations that take

place within courthouse walls, and that are critical to the continued, efficient operation of our

judicial system.

       Enforcement efforts in courthouses have increased dramatically over the past few years.

Compared to 2016, there was a 1700% increase in ICE arrests and sightings in 2018 in New York

State courthouses alone. See The Courthouse Trap: How ICE Operations Impacted New York’s

Courts in 2018, Immigrant Def. Project, 6 (Jan. 2019), http://www.immigrantdefenseproject.org/

wp-content/uploads/TheCourthouseTrap.pdf (last visited Oct. 8, 2019) (hereinafter, the

“Immigration Def. Project”) (attached hereto as Exhibit B). Several state chief justices and the

American Bar Association have attempted to add courthouses to the list of “sensitive locations”—

which currently includes schools, hospitals, places of worship, and places of public

demonstration—that are generally off-limits to ICE. However, ICE has reiterated its intent to

make    arrests    within   courthouses,   with    certain   self-imposed   limitations   that   they

subsequently have ignored. See U.S. Immigration and Customs Enforcement, Directive No.

11072.1, Civil Immigration Enforcement Actions Inside Courthouses, (Jan. 10, 2018),



                                                  -4-
         Case 1:19-cr-10141-LTS Document 103 Filed 10/21/19 Page 9 of 18



https://www.ice.gov/sites/default/files/documents/Document/2018/ciEnforcementActionsCourth

ouses.pdf (last visited Oct. 8, 2019) (emphasis added) (attached hereto as Exhibit C).

       Not only have ICE arrests dramatically increased, they have been executed without regard

to ICE’s own guidelines: arrests have taken place in public areas of courthouses, near public

entrances and exits, and, in at least one case, in a manner so alarming that a bystander called to

report a kidnapping. See Immigrant Def. Project at 3. Findings from the Immigration Defense

Project show that “ICE set no limits on who they targeted in New York’s courts—arresting

immigrants who appeared in a diversion court for victims of human trafficking and going after

survivors of domestic violence.” Id. at 4. The report also finds that ICE agents frequently

employed violence during arrests, and in the vast majority of operations, refused to identify

themselves, explain why an individual was being arrested, or offer proof that the individual being

arrested was in fact deportable. Id at 3-4. Equally unsettling is the sweeping nature of ICE arrests

in courthouses, directed at noncitizens regardless of their reason for being in court that day. For

example, an immigrant in Pennsylvania was arrested when he went to court to make child support

payments; a man in Queens who accompanied his brother to criminal court was arrested by ICE

when he showed a Mexican ID; and a survivor of domestic abuse with no prior criminal history

was arrested after her hearing. See Obstructing Justice – The Chilling Effect of ICE’s Arrests of

Immigrants at Pennsylvania Courthouses, Temple University Beasley School of Law, Center for

Social Justice (Jan. 2019), 6, https://www.ncsc.org/~/media/Files/PDF/Topics/ICE/ Obstructing-

Justice013019.ashx (last visited Oct. 8, 2019) (hereinafter, “Obstructing Justice”) (attached hereto

as Exhibit D); Immigration Def. Project at 11. In light of these trends, immigrant populations are

being deterred from exercising their right to access justice.




                                                 -5-
        Case 1:19-cr-10141-LTS Document 103 Filed 10/21/19 Page 10 of 18



       B.        The Impact of the Recent Escalation of ICE Enforcement in Courthouses

       In 2018, an immigrant worker in Philadelphia was killed in a workplace accident.

Obstructing Justice at 1. Despite a strong case for wrongful death benefits, his wife decided not

to pursue any claims against the employer because she feared that ICE would appear in court. Id.

Another immigrant did not attend his own mother’s murder trial out of fear that ICE would be

present. Id. at 10. These tragic stories demonstrate the paralyzing fear felt by noncitizens faced

with the choice of either seeking justice in courthouses or risking a possible ICE encounter. A

recent study reports that this fear and insecurity is pervasive among immigrant populations.

Seventy-seven percent of respondents who worked on court-related matters with immigrants either

noted that clients “expressed fear of going to court or chose not to pursue a case because they may

be arrested or detained by ICE.” Id. at 2. These stories of ICE enforcement in courthouses often

receive public attention and are spread throughout immigrant communities, serving as a warning

and deterrent that justice comes with a cost that many noncitizens and their families cannot bear.

       In 2018, the National Immigration Women’s Advocacy Project in collaboration with the

American Civil Liberties Union compared 2017 data with 2016 data and evaluated responses from

a total of 779 individuals across a wide variety of professions and geographies. See Promoting

Access to Justice for Immigrant and Limited English Proficient Crime Victims in an Age of

Increased Immigration Enforcement: Initial Report from a 2017 National Survey, National

Immigration Women’s Advocacy Project, American University Washington College of Law

(May 3, 2018),          http://library.niwap.org/wp-content/uploads/Immigrant-Access-to-Justice-

National-Report.pdf (last visited Oct. 8, 2019) (hereinafter, “NIWAP Report”) (attached hereto as

Exhibit E). Findings from these studies and others underscore the danger courthouse arrests pose

to all stakeholders of our justice system—not only the individuals who forgo access to justice out



                                                -6-
        Case 1:19-cr-10141-LTS Document 103 Filed 10/21/19 Page 11 of 18



of fear of ICE, not only those who rely on access to the courthouse for their livelihoods, but also

for the safety of our communities and the efficacy of our judicial system as a whole.

       Fifty-four percent of participating judges (compared to forty-five percent in 2016) reported

interruptions in their cases due to an immigrant victim’s fear of coming to court. Id. at 15. Judges

were also asked to report the number of cases where officials from the Department of Homeland

Security (“DHS”) were involved in immigration enforcement activities within the courthouse.

Forty-seven cases were reported, which represented a forty-seven percent increase from 2016 to

2017. Id. at 18. This included a twenty-five percent increase in incidents in non-criminal cases,

and a sixty-four percent increase in courthouse enforcement in criminal cases. Id.

       When asked about their level of concern about the impact of immigration enforcement on

immigrant and limited English proficiency (“LEP”) litigants, judges overwhelmingly responded

that they were either “concerned” or “very concerned.” Id. For example, ninety-four percent of

judges said that they were either concerned or very concerned about the impact on human

trafficking cases, ninety-three percent reported concern for sexual assault cases, and ninety-one

percent reported concern for domestic violence cases. Id. These numbers demonstrate the real-

life impact of the “chilling effect” that ICE enforcement in courthouses can have on those most

vulnerable in our society.

       The NIWAP Report also received responses from 50 prosecutors across 19 states. Id. at

56. Findings from this portion of the study indicate an increase in the exploitation of immigration

status as a strategy in prosecution as well as an overall decline in the willingness of foreign or LEP

victims to work with prosecutors—surely resulting in decreased witness participation and a

decrease in the willingness of litigants to appear in court out of fear that their immigration status

will be used against them. More prosecutors indicated that the willingness of victims to assist in



                                                 -7-
        Case 1:19-cr-10141-LTS Document 103 Filed 10/21/19 Page 12 of 18



prosecutions in all cases other than sexual assault cases has declined rather than increased in the

past three years as opposed to prior years. Id. at 71. The study shows a more dramatic change in

this finding within the past year alone: forty-three percent of prosecutors reported a decrease in

willingness by noncitizens to assist with sexual assault and domestic violence prosecutions, thirty-

nine percent reported a similar finding for child abuse prosecutions, and thirty-four percent for

general violent crimes. Id. at 72. These findings show that immigrant populations are perceiving

their cooperation with prosecutors to come at the risk of deportation, and prosecutors cannot

effectively prosecute their cases.

       The NIWAP Report surveyed a total of 389 advocates and attorneys from fifty states and

the District of Columbia who work with immigrant survivors of domestic violence, sexual assault,

child abuse, human trafficking, and other violent crimes. Id. at 79. The study also sought to

identify the number of ICE enforcement actions against victims, and reported on the locations

where they took place. Of the 206 immigration enforcement actions against victims identified in

the survey, fifty-one of them occurred in connection with their appearance at courthouses. Id. at

93. This is especially alarming given that the Violence Against Women Act of 2005 places

courthouses on the list of protected locations where enforcement against immigrant crime victims

is generally prohibited. Id. The study reports that courthouse enforcement was occurring when

immigrant crime victims went to court in connection with protection order cases, child custody

cases, domestic violence cases, and other cases seeking remedies for abuse or crime victimization.

Id. at 94-95. Thirty-three of fifty-one enforcement actions took place inside the courtroom, and

nine others took place in public areas inside the courthouse. Id. at 96.

       In an April 2019 report by the Immigration Defense Project, the ICE Out of Courts

Coalition (the “Coalition”) gathered data for over two years related to ICE enforcement in New



                                                -8-
        Case 1:19-cr-10141-LTS Document 103 Filed 10/21/19 Page 13 of 18



York state courthouses. See Immigration Defense Project, Safeguarding the Integrity of Our

Courts: The Impact of ICE Courthouse Operations in New York State (attached hereto as Exhibit

F). The Coalition found themselves “alarmed and appalled by [ICE’s] increasing dependence on

[New York] State’s court system as its preferred venue for surveilling and detaining immigrant

New Yorkers.” Id. at 1. The Coalition reported devastating effects of ICE enforcement on various

stakeholders including District Attorney Offices, Victims and Witnesses, Victims of Gender-

Based Violence, Public Defenders, and more.

       New York District Attorneys fear that ICE courthouse operations are a serious public safety

issue because they discourage noncitizen crime victims from reporting crime, testifying against

perpetrators of crime, and participating in community outreach efforts. Id. at 7. District Attorneys

from Bronx, Manhattan, Brooklyn, Albany, and Nassau Counties have spoken out about the

chilling effect that ICE enforcement has on victim cooperation and prosecutorial efficacy. As

Madeline Singas, the Nassau District Attorney states, “New York’s justice system works best when

everyone has access….” Id. at 9.

       The Coalition issued a questionnaire on crime reporting, victim and witness participation

in prosecutions, frequency of writ filing, and the effect of ICE enforcement on office management.

Id. at 10. The findings show a heightened fear among noncitizens of testifying in criminal court,

cooperating with prosecutors, and participating in any aspect of the judicial system due to

confusion about the authority and whereabouts of ICE. For example, the Trial Division of the

Manhattan District Attorney’s Office reported a heightened fear among noncitizens of testifying

in criminal court since 2017. Id. at 11. The Bronx domestic violence department similarly reported

that a previously cooperative complaining witness became reluctant to testify following news

reports about ICE enforcement in courthouses. Id. at 11-12. The Brooklyn District Attorney, Eric



                                                -9-
        Case 1:19-cr-10141-LTS Document 103 Filed 10/21/19 Page 14 of 18



Gonzalez, stated that “[w]e now work in an atmosphere of fear and intimidation that discourages

victims and witnesses, both documented and undocumented, from coming forward to report

crimes.” Id. at 12. Gonzalez recalled several cases where victims and witnesses expressed fear of

coming to criminal court because of the presence of ICE. This chilling effect hinders not only the

rights of noncitizens to access justice, but also public safety. The Brooklyn District Attorney’s

Office reports several specific instances in which their ability to effectively prosecute harm was

hindered by a witness’s fear of coming to court: a victim robbed at gunpoint refused to testify out

of fear that ICE would arrest him at the courthouse; a man robbed at knifepoint similarly refused

to testify and without his testimony, the ADA was forced to reduce the charges; an eyewitness

would not testify out of fear of ICE and as a result the DA was forced to dismiss charges against a

violent offender; and the Special Victims Bureau struggled to prosecute a sexual abuse case where

the witness, an undocumented mother of the victim, feared cooperation due to ICE presence in

courthouses. Id. at 12-13.

       The Coalition reported a particularly debilitating effect of ICE enforcement in courthouses

on victims of gender-based violence, manifested by a decreased willingness among noncitizen and

foreign-born individuals to report crime. This effect is measured by a decrease in protection orders

issued against intimate partners, a drop in survivors seeking assistance at Family Justice Centers,

fewer survivors seeking civil legal assistance, reduced communication with law enforcement,

reluctance to pursue affirmative petitions in Family and Supreme Courts, increased fear of

compliance with court orders, and a rise in ICE-related threats from abusive partners. Id. at 22.

As a result, victims of domestic violence are at an increased risk of abuse with a diminishing hope

of meaningful recourse.




                                               -10-
        Case 1:19-cr-10141-LTS Document 103 Filed 10/21/19 Page 15 of 18



       Between 2017 and 2018, the Sanctuary for Families closed 1,350 fewer cases and assisted

226 fewer clients seeking orders of protection than in the prior year. Id. at 24. The organization

reports that ICE courthouse operations were to blame, based on conversations with current and

prospective clients. Id. Andrea Panjwani, a former Immigration Practice Managing Attorney,

described the case of a woman who was raped and attacked by her children’s father, suffering

neurological damage and permanent vision loss as a result. Id. at 24-25. When asked why she did

not report the assault, she told her attorney that she was afraid of being picked up by ICE. Id.

Among the legal services providers and advocates who responded to the survey, sixty-seven

percent stated that they have had clients who decided not to seek help from the courts, forty-eight

percent worked with immigrants who failed to seek custody or visitation, and thirty-seven percent

worked with someone who failed to pursue an order of protection, all due to fear of ICE.

Id. at 27-28.

       Public Defenders in New York also report that they are unable to zealously represent their

clients and otherwise effectively participate in the administration of justice. They cite directly to

clients’ rising fears of attending court and an increased issuance of bench warrants, disappearing

litigants, resource drain, and an escalating use of force and surveillance by ICE. Id. at 38. For

example, Kathy Rodriguez, a former Arraignment Clerk and Administrative Assistant for NYCDS

stated, “Clients are now calling our office to ask about the consequences of making their court

dates (as opposed to missing their court dates) because they are afraid ICE is outside waiting for

them. They are terrified, hysterical, and untrusting of any government employee because they feel

like we were all out to get them....” Id. at 39. This climate of fear among noncitizen and foreign-

born populations shows that ICE’s presence in courthouses not only reduces noncitizens’ physical




                                                -11-
        Case 1:19-cr-10141-LTS Document 103 Filed 10/21/19 Page 16 of 18



access to justice, but hinders their right to a zealous defense as public defenders report having to

balance the best criminal defense for their clients with the risk of ICE detention.

                                                 ---

        The data, reports, and firsthand accounts cited here confirm what history, common sense,

and established law already have taught us: when ICE officials conduct civil enforcement activities

in and around state courthouses, ICE hinders access to justice for noncitizens, reduces the efficacy

of our prosecutors and public defenders, and jeopardizes the public’s safety. Noncitizens as well

as citizens require access to the courthouse to seek protection, and defend themselves and their

rights. The numbers suggest that until recently, they felt safe doing so. The courthouse should

continue to be an inviting place for all individuals rather than an opportunity for ICE to target the

most vulnerable: those who have come to seek justice. The findings from these studies consistently

evidence the “chilling effect” that ICE enforcement in courthouses has on noncitizens’

constitutionally protected right to access justice. This chilling effect not only negatively impacts

these vulnerable communities, but also each and every person who relies on the functioning of

these institutions.

                                         CONCLUSION

        For the reasons set forth above, Amici respectfully submit that Defendants’ motions to

dismiss should be granted.




                                                -12-
       Case 1:19-cr-10141-LTS Document 103 Filed 10/21/19 Page 17 of 18



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Dated: October 15, 2019




                                          -13-
        Case 1:19-cr-10141-LTS Document 103 Filed 10/21/19 Page 18 of 18



                                 CERTIFICATE OF SERVICE

       I, Kirsten V. Mayer, hereby certify that this document filed through the ECF system will

be sent electronically to the registered participants as identified on the Notice of Electronic Filing

(NEF) and paper copies will be sent to those indicated as non-registered participants on October

15, 2019.




                                                              /s Kirsten V. Mayer


                                                              Kirsten V. Mayer




                                                -14-
